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lN THE UNITED STATES D|STR|CT COURT
FOR THE WESTERN DISTR|CT OF TENNESSEE
EASTERN DlVlSlON

 

JOE F. JENK|NS and JOAN J. JENK|NS,
lndividually,

Plaintiffs,

VS. No. 1-05-'1072 TIAn
ALDERMAN GREG HORTON, JllVl PlLLOW,
MAYOR GEORGE KILLEBREW and

THE C!TY OF MlLAN,

Defendants.

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RULE16(b)SCHEDUL|NG ORDER

 

Pursuant to the Scheduling Conference set by Written notice, the following dates are
established as the final dates for:
lNlTlAL D|SCLOSURES (Rule 26(a)(1)): August 12, 2005
JO|N|NG PART|ES:
For P|aintifl’: September 29, 2005
For Defendants: October 28, 2005
AN|END|NG PLEAD|NGS:
For Plaintiff: September 29, 2005

For Defendant: October 28, 2005

'l`his document entered on the docket sheet in c llance
mm sure 53 and/or 79 (a) FnoP on j_¢__l_q_IEi

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CON|PLET|NG ALL D|SCOVERY: February 10, 2006
(a) Request for Production, lnterrogatories, and Requests
for Admission: February 10, 2006

(b) Expert Disclosure (Rule 26(a)(2)):

(i) Plaintiff’s Experts: November 10, 2005
(ii) Defendant’s Experts: Deoember 9, 2005
(iii) Supplerrientation under F<ule 26(9): Deoernber 19, 2005

(c) DEPOS|T|ONS OF EXFERTS: February 10, 2006
F|LING DlSPOS|T|VE MOT|ONS: l\/larch 7, 2006
FlNAL L|STS OF WlTNESSES AND EXHIBITS (Rule 26(a)(3)):
(a) For Plaintiff: April 21, 2006
(b) For Defendant: l\/lay 8, 2006
Parties shall have ten (10) days after service of final lists of witnesses and exhibits
to file objections under Rule 26(a)(3).
The trial of this matter is expected to last three (3) days and is SET for JURY TR|AL
June 7, 2006, at 9:30 a.m. Ajoint pretrial order is due on May 26, 2006. ln the event the
parties are unable to agree on ajoint pretrial order, the parties must notify the Court at least
ten (10) days before trial.
OTHER RELEVANT MATTERS:
interrogatories Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the

deadline for completion ofdiscovery. For example, if the FRCP allows 30 days for a party

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to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery. Additionally, each party will be permitted to submit Thirty-five (35)
interrogatories and each party will be permitted to conduct Twenty (20) depositions

l\/lotions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(1)(B), all
motions except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter Neither
party may file an additional reply, however, without leave of the Court. lf a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required The parties may
consent to trial before the Magistrate Judge. The l\/lagistrate Judge can normally provide
the parties with a definite trial date that will nct be continued unless a continuance is agreed
to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties are encouraged to engage in court-annexed attorney mediation or

private mediation on or before the close of discoverj{.

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This Order has been entered after consultation with trial counsel pursuant to Notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

|T |S SO ORDERED.

Tnis the ,'J*E day or gale 2005.
l lewis /e[a,

S% "HOMAS ANDERSON
UN|TED STATES l‘\/|AG|STRATE JUDGE

APPROVED FOR ENTRY:

SPRAG|NS BARNETT, COBB& BUTLER, PLC

Byf //,él‘/wrm g kw lh~ gaf

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:05-CV-01072 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

